                             Case 1:23-mj-00072-RMM Document 5 Filed 04/14/23 Page 1 of 1

AO 442 (Rev. 11111) Arrest Warrant




                                              UNITED STATES DISTRICT COURT
                                                                                   for the

                                                                        District of Columbia

                     United States of America
                                     v.                                              )
                                                                                     )       Case: 1:23.mJ 00072   w

                        Christopher Pearce                                                   Ass~gned to: Judge Meriweather, Robin M.
                                                                                     )
                                                                                     )       Assjgn Date: 4/3/2023
                                                                                     )       Desoription:. COMPLAINT WI ARREST WARRANT
                                                                                     )
                                 Defendant


                                                                  ARREST WARRANT
To:        Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                           Christopher Pearce
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             o    Superseding Indictment                  o Information             o   Superseding Information                     N Complaint
o     Probation Violation Petition                 o   Supervised Release Violation Petition                      o Violation      Notice           0 Order of the Court

This offense is briefly described as follows:
 18 U.S.C. § 1752(a)(I) . Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
  18 U.S.C. § 1752(a)(2) - knowingly, and with intent to impede or disrupt the orderly conduct of Government business or official functions, engage in disorderly or
 disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
 of Government business or official functions; or attempts or conspires to do so;
 40 U.S.C. § 5104(e)(2)(D) - utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the
Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House of Congress;
 40 U.S.C. § 5104(e)(2)(G) - parade, demonstrate, or picket in any of the Capitol Buildings.
                                                                                                                                   2023.04.03 13:45:31
Date:            04/03/2023                                                                                                        -04 00
                                                                                                                                        1       1

                                                                                                                   Issuing officer's signature

City and state:                       Washington, D.C.                                         Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                       Printed name and title


                                                                                 Return

           This warrant was received on (date)               £//3,1;. DJ')
at (city and state)   '13M $ 0 Ii) o'&(}(Uylvlfifl                    te.. .

Date:      4//~b'5                                                                                               Arresting officer's signature


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